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                            EXHIBIT B
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                                             PPP Loan Forgiveness Calculation Form

                         Business Legal Name (“Borrower”)                                   DBA or Tradename, if applicable

                        Business Address                         NAICS Code       Business TIN (EIN, SSN)              Business Phone
                                                                                                               (   )       -
                                                                                     Primary Contact                   E-mail Address


  ☐ First Draw PPP Loan ☐ Second Draw PPP Loan (check one)

  SBA PPP Loan Number:                                        Lender PPP Loan Number:

  PPP Loan Amount:                                            PPP Loan Disbursement Date:

  Employees at Time of Loan Application:                      Employees at Time of Forgiveness Application:

  Covered Period:                                 to

  If Borrower (Together with Affiliates, if Applicable) Received First Draw PPP Loans of $2 Million or More or Second Draw
  PPP Loans of $2 Million or More, check here: ☐

  Forgiveness Amount Calculation:

  Payroll and Nonpayroll Costs
  Line 1. Payroll Costs (enter the amount from PPP Schedule A, line 10):

  Line 2. Business Mortgage Interest Payments:

  Line 3. Business Rent or Lease Payments:

  Line 4. Business Utility Payments:                                                                        _____________________

  Line 5. Covered Operations Expenditures:                                                                  _____________________

  Line 6. Covered Property Damage Costs:                                                                    _____________________

  Line 7. Covered Supplier Costs:                                                                           _____________________

  Line 8. Covered Worker Protection Expenditures:                                                           _____________________

  Adjustments for Full-Time Equivalency (FTE) and Salary/Hourly Wage Reductions
  Line 9. Total Salary/Hourly Wage Reduction (enter the amount from PPP Schedule A, line3):

  Line 10. Sum the amounts on lines 1 through 8, then subtract the amount entered in line 9:

  Line 11. FTE Reduction Quotient (enter the number from PPP Schedule A, line13):

  Potential Forgiveness Amounts
  Line 12. Modified Total (multiply line 10 by line 11):

  Line 13. PPP Loan Amount:

  Line 14. Payroll Cost 60% Requirement (divide line 1 by 0.60):

  Forgiveness Amount
  Line 15. Forgiveness Amount (enter the smallest of lines 12, 13, and 14):



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By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:
The authorized representative of the Borrower certifies to all of the below by initialing next to each one.
          The dollar amount for which forgiveness is requested (which does not exceed the principal amount of the PPP loan):
              • was used to pay business costs that are eligible for forgiveness (payroll costs to retain employees; business
                   mortgage interest payments; business rent or lease payments; business utility payments; covered operations
                   expenditures; covered property damage costs; covered supplier costs; or covered worker protection expenditures);
              • includes all applicable reductions due to decreases in the number of full-time equivalent employees and
                  salary/hourly wage reductions;
              • includes payroll costs equal to at least 60% of the forgiveness amount;
              • for any owner-employee (with an ownership stake of 5% or more) or self-employed individual/general partner,
                  does not exceed 2.5 months’ worth of compensation received during the year used to calculate the PPP loan
                  amount, capped at $20,833 per individual in total across all businesses.
          I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
          of loan amounts and/or civil or criminal fraud charges.
          The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
          requesting forgiveness.
          I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
          (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease
          payments, business utility payments, covered operations expenditures, covered property damage costs, covered supplier
          costs, and covered worker protection expenditures.
_______ If this application is being submitted for a Second Draw PPP Loan, the Borrower used all First Draw PPP Loan amounts
        on eligible expenses prior to disbursement of the Second Draw PPP Loan.
          The information provided in this application and the information provided in all supporting documents and forms is true
          and correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an
          SBA-guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than
          five years and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine
          of not more than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not
          more than thirty years and/or a fine of not more than $1,000,000.
          The tax documents I have submitted to the Lender (if applicable) are consistent with those the Borrower has
          submitted/will submit to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that
          the Lender can share the tax information with SBA’s authorized representatives, including authorized representatives
          of the SBA Office of Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBA
          reviews.
          I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
          Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
          requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
          Borrower’s loan forgiveness application.
 _____    If the Borrower has checked the box for FTE Reduction Safe Harbor 1 on PPP Schedule A, the Borrower was unable
          to operate between February 15, 2020 and the end of the Covered Period at the same level of business activity as
          before February 15, 2020 due to compliance with requirements established or guidance issued between March 1, 2020
          and December 31, 2020 (or, for a PPP loan made after December 27, 2020, requirements established or guidance issued
          between March 1, 2020 and the last day of the Covered Period), by the Secretary of Health and Human Services, the Director
          of the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration, related to the
          maintenance of standards of sanitation, social distancing, or any other work or customer safety requirement related to
          COVID-19.
The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
determines that the Borrower was ineligible for the PPP loan.

_____________________________________________________                                    ____________________________
Signature of Authorized Representative of Borrower                                       Date

_____________________________________________________                                    ____________________________
Print Name                                                                               Title


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                                                            PPP Schedule A

PPP Schedule A Worksheet, Table 1 Totals
Line 1. Enter Cash Compensation (Box 1) from PPP Schedule A Worksheet, Table 1:

Line 2. Enter Average FTE (Box 2) from PPP Schedule A Worksheet, Table 1:

Line 3. Enter Salary/Hourly Wage Reduction (Box 3) from PPP Schedule A Worksheet, Table 1:
        If the average annual salary or hourly wage for each employee listed on the PPP
        Schedule A Worksheet, Table 1 during the Covered Period was at least 75% of such
        employee’s average annual salary or hourly wage for the most recent full quarter before
        the Covered Period, check here ☐ and enter 0 on line 3.

PPP Schedule A Worksheet, Table 2 Totals
Line 4. Enter Cash Compensation (Box 4) from PPP Schedule A Worksheet, Table 2:

Line 5. Enter Average FTE (Box 5) from PPP Schedule A Worksheet, Table 2:

Non-Cash Compensation Payroll Costs During the Covered Period
Line 6. Total amount paid or incurred by Borrower for employer contributions for employee insurance:

Line 7. Total amount paid or incurred by Borrower for employer contributions to employee retirementplans:

Line 8. Total amount paid or incurred by Borrower for employer state and local taxes assessed on
        employee compensation:

Compensation to Owners
Line 9. Total amount paid to owner-employees/self-employed individual/general partners:
        This amount may not be included in PPP Schedule A Worksheet, Table 1 or 2. If there is
        more than one individual included, attach a separate table that lists the names of and
        payments to each.

Total Payroll Costs
Line 10. Payroll Costs (add lines 1, 4, 6, 7, 8, and 9):

Full-Time Equivalency (FTE) Reduction Calculation
If you satisfy any of the following three criteria, check the appropriate box, skip lines 11 and 12, and enter 1.0 on line 13; otherwise,
complete lines 11, 12, and 13:

No reduction in employees or average paid hours: If you have not reduced the number of employees or the average paid hours of
your employees between January 1, 2020 and the end of the Covered Period, check here ☐.

FTE Reduction Safe Harbor 1: If you were unable to operate between February 15, 2020, and the end of the Covered Period at the
same level of business activity as before February 15, 2020 due to compliance with requirements established or guidance issued
between March 1, 2020 and December 31, 2020 (or, with respect to a PPP loan made on or after December 27, 2020, between March 1,
2020 and the last day of the Covered Period with respect to such loan), by the Secretary of Health and Human Services, the Director of
the Centers for Disease Control and Prevention, or the Occupational Safety and Health Administration related to the maintenance of
standards for sanitation, social distancing, or any other worker or customer safety requirement related to COVID-19, check here ☐.

FTE Reduction Safe Harbor 2: If you satisfy FTE Reduction Safe Harbor 2 (see PPP Schedule A Worksheet), check here ☐.

Line 11. Average FTE during the Borrower’s chosen reference period:

Line 12. Total Average FTE (add lines 2 and 5):

Line 13. FTE Reduction Quotient (divide line 12 by line 11) or enter 1.0 if any of the above criteria aremet:___________________
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                                                     PPP Schedule A Worksheet

Table 1: List employees who:
   • Were employed by the Borrower at any point during the Covered Period whose principal place of residence is in the
        United States; and
   • Received compensation from the Borrower at an annualized rate of less than or equal to $100,000 for all pay periods in
        2019 or were not employed by the Borrower at any point in 2019.
                                              Employee                                                  Salary / Hourly Wage
            Employee's Name                   Identifier    Cash Compensation        Average FTE             Reduction




      FTE Reduction Exceptions:
                  Totals:                                   Box 1                 Box 2                Box 3

Table 2: List employees who:
   • Were employed by the Borrower at any point during the Covered Period whose principal place of residence is in the
        United States; and
   • Received compensation from the Borrower at an annualized rate of more than $100,000 for any pay period in 2019.
                                               Employee
            Employee's Name                    Identifier    Cash Compensation         Average FTE




                   Totals:                                  Box 4                  Box 5

Attach additional tables if additional rows as needed.

FTE Reduction Safe Harbor 2:

    Step 1. Enter the borrower’s total average FTE between February 15, 2020 and April 26, 2020. Follow the same method that
            was used to calculate Average FTE in the PPP Schedule A Worksheet Tables. Sum across all employees and enter:
                             .

    Step 2. Enter the borrower’s total FTE in the Borrower’s pay period inclusive of February 15, 2020. Follow the same method
            that was used in step 1:                  .

    Step 3. If the entry for step 2 is greater than step 1, proceed to step 4. Otherwise, FTE Reduction Safe Harbor 2 is not
            applicable and the Borrower must complete line 13 of PPP Schedule A by dividing line 12 by line 11 of that schedule.

    Step 4. Enter the borrower’s total FTE (a) for a PPP loan made before December 27, 2020, as of December 31, 2020 or (b) for a
            PPP loan made after December 27, 2020, the last day of the covered period:                .

    Step 5. If the entry for step 4 is greater than or equal to step 2, enter 1.0 on line 13 of PPP Schedule A; the FTE Reduction Safe
            Harbor 2 has been satisfied. Otherwise, FTE Reduction Safe Harbor 2 does not apply and the Borrower must complete
            line 13 of PPP Schedule A by dividing line 12 by line 11 of that schedule.




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                                      PPP Borrower Demographic Information Form (Optional)

Instructions

    1.     Purpose. Veteran/gender/race/ethnicity data is collected for program reporting purposes only.
    2.     Description. This form requests information about each of the Borrower’s Principals. Add additional sheets if necessary.
    3.     Definition of Principal. The term “Principal” means:
           • For a self-employed individual, independent contractor, or a sole proprietor, the self-employed individual, independent
               contractor, or sole proprietor.
           • For a partnership, all general partners and all limited partners owning 20% or more of the equity of the Borrower, or any
               partner that is involved in the management of the Borrower’s business.
           • For a corporation, all owners of 20% or more of the Borrower, and each officer and director.
           • For a limited liability company, all members owning 20% or more of the Borrower, and each officer and director.
           • Any individual hired by the Borrower to manage the day-to-day operations of the Borrower (“key employee”).
           • Any trustor (if the Borrower is owned by a trust).
           • For a nonprofit organization, the officers and directors of the Borrower.
    4.     Principal Name. Insert the full name of the Principal.
    5.     Position. Identify the Principal’s position; for example, self-employed individual; independent contractor; sole proprietor;
           general partner; owner; officer; director; member; or key employee.



 Principal Name                                                             Position

 Veteran           1=Non-Veteran; 2=Veteran; 3=Service-Disabled Veteran; 4=Spouse of Veteran; X=Not
                   Disclosed
 Gender            M=Male; F=Female; X=Not Disclosed
 Race (more than 1 1=American Indian or Alaska Native; 2=Asian; 3=Black or African-American; 4=Native
 may be selected) Hawaiian or Pacific Islander; 5=White; X=Not Disclosed
 Ethnicity         H=Hispanic or Latino; N=Not Hispanic or Latino; X=Not Disclosed

                          Disclosure is voluntary and will have no bearing on the loan forgiveness decision




Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB Control
Number. The estimated time for completing this application, including gathering data needed, is 180 minutes. Comments about this time or the
information requested should be sent to Small Business Administration, Director, Records Management Division, 409 3rd St., SW, Washington DC
20416, and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC 20503. PLEASE DO
NOT SEND FORMS TO THESE ADDRESSES.

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                          LOAN FORGIVENESS APPLICATION FORM 3508 INSTRUCTIONS FOR BORROWERS

  To apply for forgiveness of your First or Second Draw Paycheck Protection Program (PPP) loan, you (the Borrower) may use the
  Form 3508EZ or the Form 3508S application or complete this application as directed in these instructions, and submit it to your
  Lender (or the Lender that is servicing your loan). Borrowers may also complete their application electronically through their
  Lender. Each PPP loan must use a separate loan forgiveness application form. You cannot use one form to apply for forgiveness
  of both a First Draw PPP Loan and a Second Draw PPP loan. For a Second Draw PPP Loan in excess of $150,000, you must
  submit a loan forgiveness application for your First Draw PPP Loan before or simultaneously with the loan forgiveness application
  for your Second Draw PPP Loan, even if the calculated amount of forgiveness on your First Draw PPP Loan is zero.
  If this application is being submitted for a First Draw PPP Loan approved on or before August 8, 2020 and the Borrower is
  required to submit an SBA Form 3508D disclosure of a controlling interest, that disclosure must be submitted to the lender not
  later than 30 days after submission of this loan forgiveness application. See subsection B.16 of SBA’s interim final rule posted on
  January 6, 2021 (86 FR 3692).

  This application has the following components: (1) the PPP Loan Forgiveness Calculation Form; (2) PPP Schedule A; (3) the PPP
  Schedule A Worksheet; and (4) the (optional) PPP Borrower Demographic Information Form. All Borrowers must submit (1) and
  (2) to their Lender.

                                     Instructions for PPP Loan Forgiveness Calculation Form

  Business Legal Name (“Borrower”)/DBA or Tradename (if applicable)/Business TIN (EIN, SSN): Enter the same
  information as on your Borrower Application Form (SBA Form 2483, SBA Form 2483-SD, or lender’s equivalent).

  Business Address/NAICS Code/Business Phone/Primary Contact/E-mail Address: Enter the same information as on your
  Borrower Application Form, unless there has been a change in address or contact information. If NAICS Code was not on the
  Borrower Application Form, match the business activity code provided on IRS income tax filings, if applicable.

  First Draw PPP Loan or Second Draw PPP Loan: Select the box that describes the PPP loan that this forgiveness application is
  for. If you only have one PPP loan, select First Draw PPP Loan.

  SBA PPP Loan Number: Enter the loan number assigned by SBA at the time of loan approval. Request this number from the
  Lender if necessary.

  Lender PPP Loan Number: Enter the loan number assigned to the PPP loan by the Lender.

  PPP Loan Amount: Enter the disbursed principal amount of the PPP loan (the total loan amount you received from the Lender).

  PPP Loan Disbursement Date: Enter the date that you received the PPP loan proceeds from the Lender. If loan proceeds were
  received on more than one date, enter the first date on which you received PPP loan proceeds. If you received an authorized
  increase on your First Draw PPP Loan after December 27, 2020, you must enter the date on which you received the original
  disbursement of your PPP loan proceeds.

  Employees at Time of Loan Application: Enter the total number of employees at the time of the PPP loan application.

  Employees at Time of Forgiveness Application: Enter the total number of employees at the time the Borrower is applying for
  loan forgiveness.

  Covered Period: The Covered Period begins on the date the loan was originally disbursed. It ends on a date selected by the
  Borrower that is at least 8 weeks following the date of loan disbursement and not more than 24 weeks after the date of loan
  disbursement. For example, if the Borrower received their PPP loan proceeds on Monday, April 20, 2020, the first day of the
  Covered Period is Monday, April 20, 2020 and the final day of the Covered Period is any date selected by the Borrower between
  Sunday, June 14, 2020 and Sunday, October 4, 2020.

 If Borrower, Together with Affiliates, if Applicable, Received First Draw PPP Loans of $2 Million or More or Second
 Draw PPP Loans of $2 Million or More: Check the box if the Borrower, together with its affiliates (to the extent required
 under subsection D.3. of SBA’s interim final rule posted on January 6, 2021 (86 FR 3692) and not waived under 15 U.S.C.
 636(a)(36)(D)(iv)), received (a) First Draw PPP Loans with an original principal amount of $2 million or more (if this is a First
 Draw PPP Loan forgiveness application), or (b) Second Draw PPP Loans with an original principal amount of $2 million or
 more (if this is a Second Draw PPP Loan forgiveness application).

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 Forgiveness Amount Calculation (see Summary of Costs Eligible for Forgiveness below):

 Line 1: Enter total eligible payroll costs incurred or paid during the Covered Period. To calculate these costs, complete PPP
 Schedule A. Enter the amount from PPP Schedule A, line 10.

 Line 2: Enter the amount of business mortgage interest payments paid or incurred during the Covered Period for any business
 mortgage obligation on real or personal property incurred before February 15, 2020. Do not include prepayments.

 Line 3: Enter the amount of business rent or lease payments paid or incurred for real or personal property during the Covered
 Period, pursuant to lease agreements in force before February 15, 2020.

 Line 4: Enter the amount of business utility payments paid or incurred during the Covered Period, for business utilities for which
 service began before February 15, 2020.

 Line 5: Enter the amount of covered operations expenditures paid or incurred during the Covered Period.

 Line 6: Enter the amount of covered property damage costs paid or incurred during the Covered Period.

 Line 7: Enter the amount of covered supplier costs paid or incurred during the Covered Period pursuant to a contract, order, or
 purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or purchase order
 must have been in effect before or at any time during the Covered Period).

 Line 8: Enter the amount of covered worker protection expenditures paid or incurred during the Covered Period.

 NOTE: For lines 2-8, you are not required to report payments that you do not want to include in the forgiveness amount.

 Line 9: Enter the number from PPP Schedule A, line 3. This amount reflects the loan forgiveness reduction required for
 salary/hourly wage reductions in excess of 25% for certain employees as described in PPP Schedule A.

 Line 10: Add lines 1 through 8, subtract line 9, enter the total. If this amount is less than zero, enter a zero.

 Line 11: Enter the number from PPP Schedule A, line 13.

 Line 12: Enter the amount on line 10 multiplied by the amount on line 11. This calculation incorporates the loan forgiveness
 reduction required for any full-time equivalency (FTE) employee reductions as described in PPP Schedule A.

 Line 13: Enter the PPP Loan Amount.

 Line 14: Divide the amount on line 1 by 0.60, and enter the amount. This determines whether at least 60% of the potential
 forgiveness amount was used for payroll costs.

 Line 15: Enter the smallest of lines 12, 13, or 14.

 Summary of Costs Eligible for Forgiveness:

 Borrowers are eligible for loan forgiveness for the following costs:
   1. Eligible payroll costs. Borrowers are generally eligible for forgiveness for the payroll costs paid and payroll costs incurred
       during the Covered Period (“payroll costs”). Payroll costs are considered paid on the day that paychecks are distributed or
       the Borrower originates an ACH credit transaction. Payroll costs are considered incurred on the day that the employee’s
       pay is earned. Payroll costs incurred but not paid during the Borrower’s last pay period of the Covered Period are eligible
       for forgiveness if paid on or before the next regular payroll date. Otherwise, payroll costs must be paid during the Covered
       Period. For each individual employee, the total amount of cash compensation eligible for forgiveness may not exceed an
       annual salary of $100,000, as prorated for the Covered Period. Count payroll costs that were both paid and incurred only
       once. Include only payroll costs for employees whose principal place of residence is in the United States. For information
       on what qualifies as payroll costs, see SBA’s interim final rule posted on January 6, 2021 (86 FR 3692).

    2.   Eligible nonpayroll costs. Nonpayroll costs eligible for forgiveness consist of:
          (a) covered mortgage obligations: payments of mortgage interest (not including any prepayment or payment of principal)
          on any business mortgage obligation on real or personal property incurred before February 15, 2020 (“business mortgage
          interest payments”);
          (b) covered rent obligations: business rent or lease payments pursuant to lease agreements for real or personal property in
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          force before February 15, 2020 (“business rent or lease payments”);
          (c) covered utility payments: business payments for a service for the distribution of electricity, gas, water, telephone,
          transportation, or internet access for which service began before February 15, 2020 (“business utility payments”);
          (d) covered operations expenditures: payments for any business software or cloud computing service that facilitates
          business operations, product or service delivery, the processing, payment, or tracking of payroll expenses, human
          resources, sales and billing functions, or accounting of tracking of supplies, inventory, records, and expenses;
          (e) covered property damage costs: costs related to property damage and vandalism or looting due to public disturbances
          that occurred during 2020 that were not covered by insurance or other compensation;
          (f) covered supplier costs: expenditures made to a supplier of goods for the supply of goods that are essential to the
          operations of the Borrower at the time at which the expenditure is made, and made pursuant to a contract, order, or
          purchase order in effect prior to the beginning of the Covered Period (for perishable goods, the contract, order, or
          purchase order may have been in effect before or at any time during the Covered Period); and
          (g) covered worker protection expenditures: operating or capital expenditures that facilitate the adaptation of the business
          activities of an entity to comply with the requirements established or guidance issued by the Department of Health and
          Human Services, the Centers for Disease Control, or the Occupational Safety and Health Administration, or any
          equivalent requirements established or guidance issued by a State or local government, during the period starting March 1,
          2020 and ending on the date on which the national emergency declared by the President with respect to the Coronavirus
          Disease 2019 (COVID-19) expires related to maintenance standards for sanitation, social distancing, or any other worker
          or customer safety requirement related to COVID-19, but does not include residential real property or intangible property.

        Eligible nonpayroll costs cannot exceed 40% of the total forgiveness amount. An eligible nonpayroll cost must be paid
        either during the Covered Period or incurred during the Covered Period and paid on or before the next regular billing date,
        even if the billing date is after the Covered Period. Count nonpayroll costs that were both paid and incurred only once.

 The amount of loan forgiveness the Borrower applies for may be subject to reductions as explained in PPP Schedule A.




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                                                 Instructions for PPP Schedule A

Lines 1 through 5: Enter the amounts from PPP Schedule A Worksheet Tables as directed.

Enter the amount from line 3 of PPP Schedule A on line 9 of the PPP Loan Forgiveness Application Form.

For lines 6 through 9, during the Covered Period:

        Line 6: Enter the total amount paid by the Borrower for employer contributions for employee group health, life, disability,
        vision, or dental insurance, including employer contributions to a self-insured, employer-sponsored group health plan, but
        excluding any pre-tax or after-tax contributions by employees. Do not add contributions for these benefits made on behalf
        of a self-employed individual, general partners, or owner-employees of an S-corporation, because such payments are
        already included in their compensation.

        Line 7: Enter the total amount paid by the Borrower for employer contributions to employee retirement plans, excluding
        any pre-tax or after-tax contributions by employees. Do not add employer retirement contributions made on behalf of a self-
        employed individual or general partners, because such payments are already included in their compensation.

        Line 8: Enter the total amount paid by the Borrower for employer state and local taxes assessed on employee compensation
        (e.g., state unemployment insurance tax); do not list any taxes withheld from employee earnings.

        Line 9: Enter any amounts the Borrower paid to owners (owner-employees (with an ownership stake of 5% or more), a self-
        employed individual, or general partners). For each individual owner in total across all businesses, this amount is capped at
        (a) $20,833 (the 2.5-month equivalent of $100,000 per year), or (b) the 2.5-month equivalent of the individual’s applicable
        compensation in the year that was used to calculate the loan amount (2019 or 2020), whichever is lower.


Line 10: Add lines 1, 4, 6, 7, 8, and 9. Enter this amount on line 1 on the PPP Loan Forgiveness Calculation Form.

Line 11: Enter the Borrower’s total average weekly full-time equivalency (FTE) during the chosen reference period. For purposes
of this calculation, the reference period is, at the Borrower’s election, either (i) February 15, 2019 to June 30, 2019; (ii) January 1,
2020 to February 29, 2020; or (iii) in the case of seasonal employers, either of the preceding periods or any consecutive 12-week
period between February 15, 2019 and February 15, 2020. For each employee, follow the same method that was used to calculate
Average FTE on the PPP Schedule A Worksheet. Sum across all employees during the reference period and enter that total on this
line.

The calculations on lines 11, 12, and 13 will be used to determine whether the Borrower’s loan forgiveness amount must be reduced
based on reductions in full-time equivalent employees, as required by the statute. Specifically, the actual loan forgiveness amount
that the Borrower will receive may be reduced if the Borrower’s average weekly FTE employees during the Covered Period was
less than during the Borrower’s chosen reference period. The Borrower is exempt from such a reduction, and should skip lines 11
and 12, if any of the three criteria listed on PPP Schedule A under Full-Time Equivalency (FTE) Reduction Calculation has been
met.

Line 12: Add lines 2 and 5.

Line 13: Divide line 12 by line 11 (or enter 1.0 if any of the three criteria listed on PPP Schedule A under Full-Time Equivalency
(FTE) Reduction Calculation has been met). If more than 1.0, enter 1.0. Enter this amount on line 11 of the Loan Forgiveness
Calculation Form.




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                                           Instructions for PPP Schedule A Worksheet

Complete the PPP Schedule A Worksheet or obtain an equivalent report from the Borrower’s payroll system or payroll processor.

Table Instructions

Employee’s Name: Separately list each employee. Do not include any independent contractors, owner-employees (with an
ownership stake of 5% or more), self-employed individuals, or partners. Include only payroll costs for employees whose principal
place of residence is in the United States.

Employee Identifier: Enter the last four digits of each employee’s Social Security Number.

Cash Compensation: Enter the sum of gross salary, gross wages, gross tips, gross commissions, paid leave (vacation, family,
medical or sick leave, not including leave covered by the Families First Coronavirus Response Act), and allowances for dismissal or
separation paid or incurred during the Covered Period. Do not include qualified wages taken into account in determining the
Employer Retention Credit. For each individual employee, the total amount of cash compensation eligible for forgiveness may not
exceed an annual salary of $100,000, as prorated for the Covered Period. For example, for an 8-week Covered Period, the maximum
is $15,385, for a 24-week Covered Period, the maximum is $46,154.

Average FTE: This calculates the average full-time equivalency (FTE) during the Covered Period. For each employee, enter the
average number of hours paid per week, divide by 40, and round the total to the nearest tenth. The maximum for each employee is
capped at 1.0. A simplified method that assigns a 1.0 for employees who work 40 hours or more per week and 0.5 for employees
who work fewer hours may be used at the election of the Borrower.

This calculation will be used to determine whether the Borrower’s loan forgiveness amount must be reduced due to a statutory
requirement concerning reductions in full-time equivalent employees. Borrowers are eligible for loan forgiveness for certain
expenditures during the Covered Period. However, the actual loan forgiveness amount that the Borrower will receive may be less,
depending on whether the Borrower’s average weekly number of FTE employees during the Covered Period was less than during the
Borrower’s chosen reference period (see Instructions to PPP Schedule A, Line 11). The Borrower is exempt from such a reduction if
either of the FTE Reduction Safe Harbors applies. See the FTE Reduction Safe Harbor instructions below.

Salary/Hourly Wage Reduction: This calculation will be used to determine whether the Borrower’s loan forgiveness amount must
be reduced due to a statutory requirement concerning reductions in employee salary and wages. Borrowers are eligible for loan
forgiveness for certain expenditures during the Covered Period. However, the actual amount of loan forgiveness the Borrower will
receive may be less, depending on whether the salary or hourly wages of certain employees during the Covered Period was less than
during the most recent full quarter before the Covered Period. If the Borrower restored salary/hourly wage levels, the Borrower may
be eligible for elimination of the Salary/Hourly Wage Reduction amount. Borrowers must complete this worksheet to determine
whether to reduce the amount of loan forgiveness for which they are eligible. Complete the Salary/Hour Wage Reduction column
only for employees whose salaries or hourly wages were reduced by more than 25% during the Covered Period as compared to the
most recent full quarter before the Covered Period. For each employee listed in Table 1, complete the following (using salary for
salaried employees and hourly wage for hourly employees):

        Step 1. Determine if pay was reduced more than 25%.
                 a. Enter average annual salary or hourly wage during Covered Period:                     .
                 b. Enter average annual salary or hourly wage during the most recent full quarter before the Covered Period: .
                 c. Divide the value entered in 1.a. by 1.b.:                   .
                     If 1.c. is 0.75 or more, enter zero in the column above box 3 for that employee; otherwise proceed to Step 2.

        Step 2. Determine if the Salary/Hourly Wage Reduction Safe Harbor is met.
                 a. Enter the annual salary or hourly wage as of February 15, 2020:                       .
                 b. Enter the average annual salary or hourly wage between February 15, 2020 and April 26, 2020:
                                         .
                     If 2.b. is equal to or greater than 2.a., skip to Step 3. Otherwise, proceed to 2.c.
                 c. Enter the average annual salary or hourly wage as of (a) for a PPP loan made before December 27, 2020,
                     December 31, 2020 or (b) for a PPP loan made after December 27, 2020, the last day of the Covered Period:
                     _________________.
                     If 2.c. is equal to or greater than 2.a., the Salary/Hourly Wage Reduction Safe Harbor has been met – enter
                     zero in the column above box 3 for that employee. Otherwise proceed to Step 3.

        Step 3. Determine the Salary/Hourly Wage Reduction.
                 a. Multiply the amount entered in 1.b. by 0.75:                       .
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                   b. Subtract the amount entered in 1.a. from 3.a.:                      .
              If the employee is an hourly worker, compute the total dollar amount of the reduction that exceeds 25% as follows:
                   c. Enter the average number of hours worked per week during the most recent full quarter before the Covered
                       Period:
                                          .
                   d. Multiply the amount entered in 3.b. by the amount entered in 3.c.                      . Multiply this amount by
                       the number of weeks in the Covered Period (a whole number between 8 and 24):_______________. Enter this
                       value in the column above box 3 for that employee.
              If the employee is a salaried worker, compute the total dollar amount of the reduction that exceeds 25% as follows:
                   e. Multiply the amount entered in 3.b. by the number of weeks in the Covered Period:                             .
                       Divide this amount by 52:                                   . Enter this value in the column above box 3 for
                       that employee.

FTE Reduction Exceptions: Indicate the FTE of (1) any positions for which the Borrower made a good-faith, written offer to rehire
an individual who was an employee on February 15, 2020 and the Borrower was unable to hire similarly qualified employees for
unfilled positions on or before (a) December 31, 2020, for a PPP loan made before December 27, 2020 or (b) the last day of the
Covered Period, for a PPP loan made after December 27, 2020; (2) any positions for which the Borrower made a good-faith, written
offer to restore any reduction in hours, at the same salary or wages, during the Covered Period and the employee rejected the offer,
and (3) any employees who during the Covered Period (a) were fired for cause, (b) voluntarily resigned, or (c) voluntarily requested
and received a reduction of their hours. In all of these cases, include these FTEs on this line only if the position was not filled by a
new employee. Any FTE reductions in these cases do not reduce the Borrower’s loan forgiveness.

Boxes 1 through 5: Enter the sums of the amounts in each of the columns.

FTE Reduction Safe Harbors

Two separate safe harbors exempt certain borrowers from any loan forgiveness reduction based on a reduction in FTE employee
levels:

1.   The Borrower is exempt from the reduction in loan forgiveness based on a reduction in FTE employees described above if the
     Borrower, in good faith, is able to document that it was unable to operate between February 15, 2020, and the end of the
     Covered Period at the same level of business activity as before February 15, 2020, due to compliance with requirements
     established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after December 27,
     2020, requirements established or guidance issued between March 1, 2020 and the last day of the Covered Period), by the
     Secretary of Health and Human Services, the Director of the Centers for Disease Control and Prevention, or the Occupational
     Safety and Health Administration, related to the maintenance of standards for sanitation, social distancing, or any other worker
     or customer safety requirement related to COVID-19.

2.   The Borrower is exempt from the reduction in loan forgiveness based on a reduction in FTE employees described above if both
     of the following conditions are met: (a) the Borrower reduced its FTE employee levels in the period beginning February 15,
     2020, and ending April 26, 2020; and (b) the Borrower then restored its FTE employee levels to its FTE employee levels in the
     Borrower’s pay period that included February 15, 2020 by not later than (i) December 31, 2020, for a PPP loan made before
     December 27, 2020, or (ii) the last day of the Covered Period, for a PPP loan made after December 27, 2020.




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                     Documents that Each Borrower Must Submit with its PPP Loan Forgiveness Application

PPP Loan Forgiveness Calculation Form

PPP Schedule A

Payroll: Documentation verifying the eligible cash compensation and non-cash benefit payments from the Covered Period consisting of
each of the following:
    a. Bank account statements or third-party payroll service provider reports documenting the amount of cash compensation paid
         to employees.
    b. Tax forms (or equivalent third-party payroll service provider reports) for the periods that overlap with the Covered
         Period:
              i. Payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941); and
              ii. State quarterly business and individual employee wage reporting and unemployment insurance tax filings reported,
                  or that will be reported, to the relevant state.
    c. Payment receipts, cancelled checks, or account statements documenting the amount of any employer contributions to
         employee group health, life, disability, vision or dental insurance and retirement plans that the Borrower included in the
         forgiveness amount (PPP Schedule A, lines (6) and (7)).

FTE: Documentation showing (at the election of the Borrower):
    a. the average number of FTE employees on payroll per week employed by the Borrower between February 15, 2019 and
         June 30, 2019;
    b. the average number of FTE employees on payroll per week employed by the Borrower between January 1, 2020 and
         February 29, 2020; or
    c. in the case of a seasonal employer, the average number of FTE employees on payroll per week employed by the Borrower
         between February 15, 2019 and June 30, 2019; between January 1, 2020 and February 29, 2020; or any consecutive 12-week
         period between February 15, 2019 and February 15, 2020.
The selected time period must be the same time period selected for purposes of completing PPP Schedule A, line 11. Documents
may include payroll tax filings reported, or that will be reported, to the IRS (typically, Form 941) and state quarterly business and
individual employee wage reporting and unemployment insurance tax filings reported, or that will be reported, to the relevant state.
Documents submitted may cover periods longer than the specific time period.

Nonpayroll: For categories a-c, documentation verifying existence of the obligations/services prior to February 15, 2020 and, for
all categories, eligible payments from the Covered Period.
     a. Business mortgage interest payments: Copy of lender amortization schedule and receipts or cancelled checks verifying
         eligible payments from the Covered Period; or lender account statements from February 2020 and the months of the Covered
         Period through one month after the end of the Covered Period verifying interest amounts and eligible payments.
     b. Business rent or lease payments: Copy of current lease agreement and receipts or cancelled checks verifying eligible
         payments from the Covered Period; or lessor account statements from February 2020 and from the Covered Period through
         one month after the end of the Covered Period verifying eligible payments.
     c. Business utility payments: Copy of invoices from February 2020 and those paid during the Covered Period and receipts,
         cancelled checks, or account statements verifying those eligible payments.
     d. Covered operations expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
         cancelled checks, or account statements verifying those eligible payments.
     e. Covered property damage costs: Copy of invoices, orders, or purchase orders paid during the Covered Period and receipts,
         cancelled checks, or account statements verifying those eligible payments, and documentation that the costs were related to
         property damage and vandalism or looting due to public disturbances that occurred during 2020 and such costs were not covered
         by insurance or other compensation.
     f. Covered supplier costs: Copy of contracts, orders, or purchase orders in effect at any time before the Covered Period (except for
         perishable goods), copy of invoices, orders, or purchase orders paid during the Covered Period and receipts, cancelled checks,
         or account statements verifying those eligible payments.
     g. Covered worker protection expenditures: Copy of invoices, orders, or purchase orders paid during the Covered Period and
         receipts, cancelled checks, or account statements verifying those eligible payments, and documentation that the expenditures
         were used by the Borrower to comply with applicable COVID-19 guidance during the Covered Period.

                         Documents that Each Borrower Must Maintain but is Not Required to Submit

PPP Schedule A Worksheet or its equivalent and the following:
    a. Documentation supporting the listing of each individual employee in PPP Schedule A Worksheet Table 1, including the
       “Salary/Hourly Wage Reduction” calculation, if necessary.
    b. Documentation supporting the listing of each individual employee in PPP Schedule A Worksheet Table 2; specifically, that
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         each listed employee received during any single pay period in 2019 compensation at an annualized rate of more than
         $100,000.
    c.   Documentation regarding any employee job offers and refusals, refusals to accept restoration of reductions in hours,
         firings for cause, voluntary resignations, written requests by any employee for reductions in work schedule, and any
         inability to hire similarly qualified employees for unfilled positions on or before (i) December 31, 2020 for a PPP
         loan made before December 27, 2020 or (ii) the last day of the Covered Period for a PPP loan made after December
         27, 2020.
    d.   Documentation supporting the certification, if applicable, that the Borrower was unable to operate between February 15, 2020,
         and the end of the Covered Period at the same level of business activity as before February 15, 2020 due to compliance with
         requirements established or guidance issued between March 1, 2020 and December 31, 2020 (or, for a PPP loan made after
         December 27, 2020, requirements established or guidance issued between March 1, 2020 and the last day of the Covered
         Period) by the Secretary of Health and Human Services, the Director of the Centers for Disease Control and Prevention, or the
         Occupational Safety and Health Administration, related to the maintenance of standards of sanitation, social distancing, or any
         other work or customer safety requirement related to COVID-19. This documentation must include copies of the applicable
         requirements for each borrower location and relevant borrower financial records.
    e.   Documentation supporting the PPP Schedule A Worksheet “FTE Reduction Safe Harbor 2.

All records relating to the Borrower’s PPP loan, including documentation submitted with its PPP loan application, documentation
supporting the Borrower’s certifications as to the necessity of the loan request and its eligibility for a PPP loan (including the
Borrower’s gross receipt reduction certification for a Second Draw PPP Loan, if applicable), documentation necessary to support the
Borrower’s loan forgiveness application, and documentation demonstrating the Borrower’s material compliance with PPP
requirements.

Records Retention Requirement: The Borrower must retain all such documentation in its files for six years after the date the loan
is forgiven or repaid in full, and permit authorized representatives of SBA, including representatives of its Office of Inspector
General, to access such files upon request. The Borrower must provide documentation independently to a lender to satisfy relevant
Federal, State, local or other statutory or regulatory requirements or in connection with an SBA loan review or audit.




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